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                EXHIBIT B
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https //www samsunq comluk/explore/11fe- hacksiwhat-1s-s1deloading-and-why.should-you-eare/                                                                                                    April 29 2024


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                                                                                              LIFE HACKS




                                                           What Is Sideloading
                                                       (and Why Should You Care)?
                                                                             Spoiler: It's a risky way of downloading apps.




                                                                                              A                                                                                                           I
                                                                                   UNKNOWN
                                                                                    SOURCE
                                                                               Allow from this source?


                                                                                               NO.


                                                                 Chances are you may have heard about the dangers of clicking on
                                                               sus11icious email links or entering personal Info on questionable sites.
                                                          But did you know that there's a sneaky security risk you might unconsciously be
                                                                                                taking>




                                                      What is sideloading?
                                                      While it might sound like a gnarly skateboard trick, "sideloading" is a pretty common
                                                      tech practice that could inadvertently expose your device to security breaches, So what
                                                      is sideloadi ng? In basic terms, it simply refers to moving files between two devices-
                                                      say, switching an MP3 from your laptop to your phone-as opposed to uploading or
                                                      downloading files to and from the internet.
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                                                                                                                              I

               You're already protected
               Before you get too worried, you should know that Somsung phones like the GalaxY.
               fil secured by Knox, already come with protections against malicious sideloaded
               Android apps in place. Out of the box, Samsung devices already block sideloaded apps,
               so in order to override this safety net, you would need to go into your settings and
               enable specia l app access. For older versions of Android (7 and below), be sure to check
               the "Unknown Sources• box in your settings (Settings> Lock Screen and Security)
               menu. You'll be able to load any application once it's turned on.

               That said, instances that might require you to sideload an app are few and far between,
               so st icking with apps from approved app stores whenever possible is the best way to
               make every download a safe one.

               For more on sldeloadlng, visit Samsung Business Insights 71 .




                            Ready for lockdown
               With a security platform like Knox pre-built into devices like the Galaxy A51, your data
                                                  will remain safe.




Galaxy A51                                       Galaxy A41                                                Samsung Knox

  LEARN MORE                                          LEARN MORE                                              LEARN MORE ?I   I
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                                                                                         As you toggle between the office and WFH, here's how             cool One UI 4 features can help supercharge your
      Make your every day a little more extraordinary with
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